                              Case 2:14-cv-05600-MWF-PLA                                              Document 458   Filed 03/08/18   Page 1 of 4 Page ID
                                                                                                           #:16089

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                                       7    Attorneys for Defendants
                                            COUNTY OF LOS ANGELES and SHERIFF LEROY BACA
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                                                                                           UNITED STATES DISTRICT COURT
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                                                                                       CENTRAL DISTRICT OF CALIFORNIA
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                                       12
                                            CHARLES ANTUNA, ROCIO                                                        Case No.: CV14-05600-MWF (PLAx)
PETERSON · BRADFORD · BURKWITZ




                                       13   MARTINEZ, DAVID WATERS, KEVIN                                                Assigned to the Honorable:
   100 North First Street, Suite 300




                                            HEBERT, ROBERT TUBBS, LOUIS                                                  Michael W. Fitzgerald - Courtroom 1600
     Burbank, California 91502




                                       14   DURAN, ROBERT WHEAT, CASEY                                                   Magistrate Judge: Paul L. Abrams
                                            DOWLING
            818.562.5800




                                       15                                                                                DEFENDANTS COUNTY OF LOS
                                                                                       Plaintiffs,                       ANGELES AND SHERIFF LEROY
                                       16                                                                                BACA’S REQUEST FOR RELEASE OF
                                                          vs.                                                            APPEAL BOND (DOCKET NO. 453)
                                       17
                                            COUNTY OF LOS ANGELES;
                                       18   SHERIFF LEROY BACA; and DOES 1-
                                            30, inclusive                                                                [Filed Concurrently with [Proposed]
                                                                                                                         Order]
                                       19
                                                                                       Defendants.
                                       20
                                       21   TO THE HONORABLE COURT AND ALL PARTIES THROUGH THEIR
                                       22   ATTORNEYS OF RECORD:
                                       23                 Defendants County of Los Angeles and Sheriff Leroy Baca hereby request that
                                       24   this Court release the Appeal Bond filed on December 22, 2016, Bond No. 1036157,
                                       25   in the amount of $1,139,685.11, plus any accrued interest, to the County of Los
                                       26   Angeles as Principal and The Hanover Insurance Company, as Surety. (See, attached
                                       27   Exhibit A, a true and correct copy of the Appeal Bond, Civil Docket No. 453).
                                       28                  Release of the Appeal Bond is appropriate at this time because Defendants’
                                                                                                                     1
                                                            DEFENDANTS COUNTY OF LOS ANGELES AND SHERIFF LEROY BACA’S
                                                                   REQUEST FOR RELEASE OF APPEAL BOND (DOCKET NO. 453)
                                                                                      CASE NO. CV14-05600-MWF (PLAx)
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                              Case 2:14-cv-05600-MWF-PLA                                              Document 458    Filed 03/08/18   Page 2 of 4 Page ID
                                                                                                           #:16090

                                       1    appeal before the United States Court of Appeals for the Ninth Circuit has been
                                       2    dismissed as of October 12, 2017. (See, attached Exhibit B, a true and correct copy
                                       3    of the Ninth Circuit Court’s Order Dismissing the Appeal).
                                       4
                                              DATED: March 8, 2018                                               PETERSON · BRADFORD · BURKWITZ
                                       5

                                       6                                                                             By: /s/ Natalie U. Luongo
                                                                                                                         George E. Peterson, Esq.
                                       7                                                                                 Avi Burkwitz, Esq.
                                       8
                                                                                                                         Natalie U. Luongo, Esq.
                                                                                                                         Attorneys for Defendants,
                                       9                                                                                 COUNTY OF LOS ANGELES and
                                                                                                                         SHERIFF LEROY BACA
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                                                            DEFENDANTS COUNTY OF LOS ANGELES AND SHERIFF LEROY BACA’S
                                                                   REQUEST FOR RELEASE OF APPEAL BOND (DOCKET NO. 453)
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                              Case 2:14-cv-05600-MWF-PLA                                              Document 458   Filed 03/08/18   Page 3 of 4 Page ID
                                                                                                           #:16091

                                       1                                                                     PROOF OF SERVICE
                                       2    STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
                                       3                  I am employed in the County of Los Angeles, State of California. I am over
                                       4    the age of 18 and not a party to the within action; my business address is 100 North
                                       5    First Street, Suite 300, Burbank, California 91502.
                                       6               On March 8, 2018, I served the foregoing document described as:
                                                      DEFENDANTS COUNTY OF LOS ANGELES AND SHERIFF LEROY BACA’S
                                       7                  REQUEST FOR RELEASE OF APPEAL BOND (DOCKET NO. 453)
                                       8    on interested parties in this action by placing a true and correct copy thereof
                                       9    enclosed in a sealed envelope addressed as follows:
                                       10                                                       SEE ATTACHED MAILING LIST
                                       11                BY CM/ECF NOTICE OF ELECTRONIC FILING: I electronically filed
                                                          document(s) with the Clerk of the Court by using the CM/ECF system.
                                       12                 Participants in this case who are registered CM/ECF users will be served by
PETERSON · BRADFORD · BURKWITZ




                                                          the CM/ECF system. Participants in this case who are not registered CM/ECF
                                       13
   100 North First Street, Suite 300




                                                          users will be served by mail or by other means permitted by the court rules.
     Burbank, California 91502




                                       14                BY MAIL: I deposited such envelope in the mail at Burbank, California.
            818.562.5800




                                                          The envelope was mailed with postage thereon fully prepaid. As follows: I
                                       15                 am "readily familiar" with the firm's practice of collection and processing
                                                          correspondence for mailing. Under that practice it would be deposited with
                                       16                 U.S. postal service on that same day with postage thereon fully prepaid at
                                                          Burbank, California in the ordinary course of business. I am aware that on
                                       17                 motion of the party served, service is presumed invalid if postal cancellation
                                                          date or postage meter date is more than one day after date of deposit for
                                       18                 mailing in affidavit.
                                       19                FEDERAL: I declare under penalty of perjury under the laws of the United
                                                          States of America that the foregoing is true and correct and that I am
                                       20                 employed in the office of a member of the bar of this Court at whose direction
                                                          the service was made.
                                       21

                                       22                 Executed on March 8, 2018, at Burbank, California.
                                       23

                                       24
                                                                                                                         /s/ Tyler DeVito
                                                                                                                         Tyler DeVito
                                       25

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                                                            DEFENDANTS COUNTY OF LOS ANGELES AND SHERIFF LEROY BACA’S
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                              Case 2:14-cv-05600-MWF-PLA                                              Document 458   Filed 03/08/18   Page 4 of 4 Page ID
                                                                                                           #:16092

                                       1                                                                     SERVICE LIST
                                       2      RE:             Antuna, Charles v. County of Los Angeles
                                       3                      Case                     CV14-05600-MWF (PLAX)
                                                              No.:
                                       4

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                                       6      Bradley C. Gage, Esq.
                                              Milad Sadr, Esq.
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                                       19   Tubbs, Louis Duran, Robert Wheat,
                                            Casey Dowling
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                                                            DEFENDANTS COUNTY OF LOS ANGELES AND SHERIFF LEROY BACA’S
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